Case 3:07-cr-00044-TAV-DCP   Document 230   Filed 01/10/08   Page 1 of 6   PageID
                                   #: 509
Case 3:07-cr-00044-TAV-DCP   Document 230   Filed 01/10/08   Page 2 of 6   PageID
                                   #: 510
Case 3:07-cr-00044-TAV-DCP   Document 230   Filed 01/10/08   Page 3 of 6   PageID
                                   #: 511
Case 3:07-cr-00044-TAV-DCP   Document 230   Filed 01/10/08   Page 4 of 6   PageID
                                   #: 512
Case 3:07-cr-00044-TAV-DCP   Document 230   Filed 01/10/08   Page 5 of 6   PageID
                                   #: 513
Case 3:07-cr-00044-TAV-DCP   Document 230   Filed 01/10/08   Page 6 of 6   PageID
                                   #: 514
